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Case 2:19-cr-00013 Document 156-2 Filed 11/06/20 Page 1 of 4 PagelD #: 2048
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Case 2:19-cr-00013 Document 156-2 Filed 11/06/20 Page 3 of 4 PagelD #: 2050
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Case 2:19-cr-00013 Document 156-2 Filed 11/06/20 Page 4 of 4 PagelD #: 2051
